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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

JULIA ZIMMERMAN,

       Plaintiff,                                            Case No: 23-cv-11634
                                                             Hon. Nancy G. Edmunds
vs.                                                          Mag. Judge Anthony P. Patti

ELIZABETH A. PENSLER, D.O., PLLC d/b/a
“PENSLER               VEIN     AND          VASCULAR
SURGICAL INSTITUTE” and “ELIZABETH
FACE + BODY MED SPA”, a Michigan
Professional          Limited   Liability        Company,
ELIZABETH A. PENSLER, D.O., an Individual,
ELIZABETH MED SPA, PLLC, A Michigan
Professional Limited Liability Company, DEREK L.
HILL,          D.O.,       PLLC      d/b/a           “HILL
ORTHOPEDICS”, a Domestic Professional
Limited Liability Company, DEREK L. HILL,
D.O., an Individual, Jointly and severally in their individual
and official capacities,

      Defendants.
DEBORAH GORDON LAW                                 THE HEALTH LAW PARTNERS,
Deborah L. Gordon (P27058)                         P.C.
Elizabeth Marzotto Taylor (P82061)                 Clinton Mikel (P73496)
Sarah Gordon Thomas (P83935)                       Attorneys for the Defendants
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                                   PROOF OF SERVICE
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      I, Teresa D’Costa-Cedillo, hereby certify that I am a Legal Assistant, employed

by Deborah Gordon Law.

      On July 25, 2023, on behalf of Deborah Gordon Law, I printed out five (5)

copies of the Plaintiff’s First Amended Complaint and Jury Demand, and placed each

one into a separate envelope. Each envelope was addressed to an individual Defendant.

I then placed each of these five (5) envelopes into a delivery box to be delivered to each

Defendant via FedEx.

      On July 27, 2023, I received an email from FedEx confirming that each envelope

was delivered to the respective Defendants in this case on July 26, 2023.

      I declare under penalty of perjury that this information is true.



Dated: August 1, 2023                                  /s/Teresa D’Costa-Cedillo
                                                       Teresa D’Costa-Cedillo
                                                            Legal Assistant
                                                       for Deborah Gordon Law




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